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                      IN TFIE I.INITED STATES DISTRICT COURT
                      FOR TI{E SOUTI{ERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

      INSURANCE
ONEBEACON                                   $
COMPANY                                     $
                                            $
v.                                          $          cNrL ACTTON NO.
                                            $         4-11-CV-03061-GHM
T. WADE WELCH & ASSOCIATES,                 $
ROSS W. WOOTEN, T.           WADE           $
WELCH, JOSEPH H. BOYLE, CHAD                $
HAGAN and DAVID            NOLL             $




                        ANS\ilER TO AMENDED COMPLAINT

           Joseph   H. Boyle, Chad Hagan, and David Noll answer the allegations of

OneBeacon Insurance Company's Amended Complaint for Declaratory Judgment

[Doc. 52].

           1.   The allegations of paragraphs 5-9 and 33 of the Amended Complaint

are admitted.

           2.   The allegations of paragraphs32,5l,59,64,66, and 67 are denied.

           3.   These defendants are without suff,rcient knowledge to admit or deny

the allegations of paragraphs l-4,10-26,27-31,45-50,53-58, 6l-63, and 65.

           4.   The remaining paragraphs of the Amended Complaint do not require a

response, principally because the allegations regarding the Colorado Litigation

have been dismissed as moot.




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           5.     The Amended Complaint makes no specific allegation against Boyle,

Hagan, or       Noll. It seeks no specific relief against   these defendants. To the extent

the Amended Complaint seeks merely to bind these defendants to                          any

determination made by this Court regarding the validity and enforceability of the

two insurance policies at issue, these defendants have already stated-and now

repeat-their willingness to be bound by the judgment of this Court, whether they

are named as parties or not.

           6.     It was not necessary to name     these defendants as parties in this case.

These defendants seek recovery of their fees and expenses incurred in appearing in

this case and defending this suit.

          Therefore, Boyle, Hagan, and Noll request that the Plaintiff take nothing

against them, that they be entitled to recover their costs of court, their attorneys'

fees and expenses, and for such other and fuither relief to which they may be justly

entitled.




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                              Respectfully submitted,

                              BECK, REDDEN & SECREST, LLP


                              By           /s/ Murray Fosler
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                              ATTORNEYS FOR DEFENDANTS
                              JOSEPH H. BOYLE, CHAD HAGAN
                              AND DAVID NOLL
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                          CERTIFICATE OF SERVICE

         I hereby certiff that a true and correct copy of the Answer to Amended
Complaint [on behalf of Defendants Joseph H. Boyle, Chad Hagan and David
Noll] was served in compliance with the Federal Rules of Civil Procedure on
May 4,2012, on the following counsel of record, as follows:

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